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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                           CASE NO. 5:12-CR-50008-003

ANA VACA-GOMEZ                                                               DEFENDANT


                                          ORDER


       Comes on for consideration the Report and Recommendation (Doc. 402) filed in this

case on October 11, 2016 , by the Honorable Erin L. Setser, United States Magistrate

Judge for the Western District of Arkansas. More than fourteen (14) days have passed

without objections being filed by the parties .

       Accordingly, IT IS ORDERED that the Report and Recommendation (Doc. 402) is

ADOPTED IN ITS ENTIRETY, and Defendant's§ 2255 motion (Doc. 392) is DISMISSED

WITH PREJUDICE. For the reasons stated in the Report and Recommendation, a request

for Certificate of Appealability is DENIE ~

       IT IS SO ORDERED on this /       b- day of N
